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    UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA


IN RE: VIOXX                                                     MDL NO. 1657
      PRODUCTS LIABILITY LITIGATION :
                                                                 SECTION: L

                                                                 JUDGE FALLON
..............................................................   MAG. JUDGE KNOWLES
..
THIS DOCUMENT RELATES TO:
       2:06-cv-3140


                                               ORDER

        Before the Court is John J. Driscoll, along with Brown & Crouppen, P.C.’s, Motion for

Leave to Withdraw as Counsel for Plaintiff Francis Flournoy, and will continue to represent all

other named Plaintiffs in the above cited case. Attorney John J. Driscoll moves the Court for

leave to withdraw as counsel for Francis Flournoy. Accordingly, the Court being fully advised

rules as follows:

        IT IS THE ORDER of this COURT that John J. Driscoll, along with Brown & Crouppen,

P.C.’s Motion for Leave to Withdraw as Counsel be GRANTED. This Order applies only to

Francis Flournoy’s actions against Defendant Merck & Co., Inc., all claims of all other plaintiffs

in this action remain in full force and effect. File and Serve shall be updated by Plaintiff’s

former attorney John J. Driscoll and Brown & Crouppen, P.C. to reflect these changes.



                                        It is So Ordered:________________________________
                                                              JUDGE

DATE: ________________________
